     Case 2:12-cr-00175-KJD-VCF        Document 134       Filed 08/11/14     Page 1 of 1



 1

 2

 3                                UNITED STATES DISTRICT COURT

 4                                       DISTRICT OF NEVADA

 5                                                 ***

 6     UNITED STATES OF AMERICA,                          Case No. 2:12-CR-175-KJD-VCF
 7                                           Plaintiff,
                                                                           ORDER
 8            v.
 9     DEMARIO EDWARDS,
10                                         Defendant.
11

12

13             Before the Court is Defendant Edwards’ Motion to Correct Sentence via Credit for Time
14     Served (#132). The Government responded but did not oppose the motion (#133). Rather, the
15     Government noted the unique factual circumstances, as well as the expectations of the parties
16     and the intention of the Court, and asks the Court to vacate Defendant’s judgment and enter an
17     amended judgment sentencing Defendant to 13 months’ imprisonment to commence on the date
18     the Court originally entered the judgment, February 5, 2014, with all other terms to remain
19     identical.
20             Good cause appearing, it is so ORDERED. Defendant’s judgment is HEREBY
21     VACATED and an amended judgment comporting with the terms above will issue shortly.
22             DATED this 11th day of August 2014.
23

24

25                                                        _____________________________
                                                          Kent J. Dawson
26                                                        United States District Judge
